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                     EXHIBIT B-3
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DISTRICT COURT, COUNTY OF DENVER
STATE OF COLORADO
1437 Bannock Street, Room 256
Denver, CO 80202                                                 DATE FILED
                                                                 July 30, 2024 2:35 PM
                                                                 CASE NUMBER: 2024CV32321

Plaintiff(s):
                                                              Case Number: 24CV32321
MOSES, VICTOR                                                 Courtroom: 280

v.

Defendant(s):

C AND C OF DENVER COLO ET AL



                                      PRE-TRIAL ORDER
                                  (Revised as of August 25, 2022)


This Pre-Trial Order applies to each case assigned to Courtroom 280 of Denver District Court.
Questions regarding this Order should be raised before trial. Plaintiff must serve copies of this
Order on all parties, including Pro Se Parties, pursuant to CRCP 5, and file a Certificate of
Service with the Court within 10 days of the date of compliance herewith.

The Colorado Rules of Civil Procedure, as amended (CRCP) apply to this case. However, in the
event of a conflict between this Order and any CRCP rule, this Order shall take precedence.
Counsel and Pro Se parties are expected to familiarize themselves with the contents of this
Order and all its requirements.

“Reasonable adherence to clear, reasonable and known rules of procedure is essential to the
administration of justice.” O’Quinn v. Baca, 250 P.3d 629, 631 (Colo. App. 2010) (citations
omitted).

     1.PRO SE PARTIES

            a. Parties appearing without counsel are directed to contact Colorado Legal
               Services/Metro Volunteer Lawyers, 1905 Sherman Street, Suite 400, Denver,
               Colorado 80203, Phone (303)837-1313 to determine whether they qualify for
               free or reduced-cost legal representation.

            b.   In cases involving self-represented, or pro se, parties, the Court orders that the
                 Responsible Attorney, as defined in CRCP 16(b)(2), must notice the case for a
                 case management conference.
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         c. This Division requires case management conferences in all cases in which one or
            more parties are proceeding pro se, whether the case is governed by CRCP 16 or
            CRCP 16.1.


    2.      CASE MANAGEMENT ORDER

            Either the provisions of CRCP 16 or CRCP 16.1 concerning the Case
            Management Order will apply. If this is a case governed by Rule 16 (as opposed
            to Rule 16.1), a Case Management Order is required. If all parties have not
            participated in the preparation of a proposed Case Management Order, this must
            be noted in the title of the Proposed Case Management Order. The lack of
            participation by one or more parties shall not provide grounds for not complying.

   3.       CASE MANAGEMENT CONFERENCE

         a. Although CRCP 16 indicates the case management conference must be held no
            later than 49 days after the case is at issue, in this courtroom, the case
            management may well be held sooner than that. The responsible attorney must set
            the case management conference date and the trial date at the same time. The
            responsible attorney must call the court on the day and time designated in the
            notice to set, receive potential dates from the court, confer with all parties
            regarding the dates, and promptly notify the court of which date the parties would
            like to select.

         b. Lead counsel and unrepresented parties, if any, must attend the case management
            conference in person or via WebEx. If all parties are represented by counsel,
            counsel may timely submit a proposed order and jointly request the court to
            dispense with a case management conference pursuant to CRCP 16(d)(3).

         c. At the case management conference, parties and counsel must be prepared to
            discuss the proposed order, issues requiring resolution, and any special
            circumstances of the case.


   4.       TRIAL SETTINGS

           a. A specific setting date or trial date must be designated in the proposed CMO,
              as set forth in CRCP 16.

           b. With the caveat that COVID may impact the Court’s calendar, cases must be
              set for trial no later than 28 days after the case is at issue but probably will be
              set before that time. Cases will not be set beyond 350 days after the case is
              filed without the Court’s permission. Pursuant to Chief Justice Directive 08-05,
              p. 6, 90% of all cases should be concluded within 1 year of filing of the

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                original complaint, not within one year of filing of the Answer, or one year
                following the date the case is deemed “at issue,” or within one year of any
                other date.

           c. No case will be set for more than 5 days without the Court’s permission.

           d. Trial settings take place on Tuesdays, Wednesdays and Thursdays between
              10:00 a.m. and noon only.

           e. If the parties do not accept one of the trial dates given to them during the
              setting process, within ten (10) days, the Court will unilaterally set a trial date.


   5.          DISCLOSURES & DISCOVERY

           a. This Court requires “robust disclosure[s] followed by limited discovery.” See
              CRCP 26, Official Comment, #20.

           b. Discovery shall be conducted pursuant to CRCP, the Colorado Rules of
              Professional Conduct, and this Pre-Trial Order.

           c. Treating expert’s opinions that go beyond the four corners of his/her records or
              reasonable inferences therefrom must be fully and fairly disclosed.

          d.    If a party put in its disclosures or responds to a discovery request by indicating
                that it will provide documents or information subject to an objection, that party
                must describe with reasonable specificity the documents or information being
                withheld as a result of the objection. Failure to comply with this requirement
                may constitute a waiver of the objection.

          e.    When documents are produced, they must be precisely identified as responsive
                to a particular discovery request, disclosure or issue in the case. Responding to
                a discovery request of any kind by producing or generally pointing to a mass of
                documents is tantamount to not responding at all.

          f.    No Written Discovery Motions. No written discovery motions will be
                accepted. The Court will address all discovery disputes with a discovery
                hearing instead of by written motions. The purpose of this procedure is to
                ensure expedited and inexpensive resolution of discovery disputes. The
                following procedures will be in effect in this case:

                 i. If there is a discovery dispute, counsel are expected to confer in a
                    meaningful way to try to resolve it. An email sent the night before doesn’t
                    qualify.




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              ii. If counsel cannot resolve the dispute, please call the courtroom clerk at
                  303-606-2413 and set it for a Webex hearing. No written notice to the
                  Court is necessary. If counsel cannot agree on a date, please let the clerk
                  know and the Court will set a hearing date unilaterally. No discovery
                  dispute hearing may be set less than 30 days before trial without the
                  moving party demonstrating good cause.

              iii. The parties must file a brief description of the discovery dispute, your
                   position, and a citation of legal authority that supports your position. This
                   must be filed no later than 48 business hours before the scheduled hearing
                   and must not exceed three pages, double spaced. DO NOT attach any
                   exhibits to this filing.

              iv. The dispute will be argued and resolved at the hearing or taken under
                  advisement with a prompt ruling by the Court.

               v. If a dispute occurs during a deposition, please call the Court’s clerk at the
                  above number and advise him/her about the nature of the dispute. The
                  Court will address the dispute as quickly as possible.

              vi. The parties should refrain from interposing boiler-plate type objections
                  such as “overbroad, unduly burdensome, vague, ambiguous, not
                  reasonably calculated to lead to the discovery of admissible evidence” and
                  other similar objections. In the event any such objections are made, they
                  must be followed by a clear and precise explanation of the legal and
                  factual justification for raising such an objection. Additionally, if the
                  objecting party otherwise responds to the discovery request but does so
                  subject to or without waiving such an objection, that party must describe
                  with reasonable specificity the information which may be available but
                  which is not being provided as a result of the objection raised.

             vii. When a responding party (not counsel) claims, in good faith, not to
                  understand either a discovery request made in writing or the meaning of
                  any words or terms used in a discovery request made in writing, that party
                  must, within ten (10) days of receiving the discovery request, seek
                  clarification of the meaning from counsel who served the discovery. A
                  failure to seek such clarification must be considered a violation of this
                  Order for Discovery Protocol.

             viii. A discovery response which does not provide the information or material
                   requested but promises to do so at some point in the future will be treated
                   as the equivalent of no response unless the party so responding provides a
                   specific reason for the information not being produced as required by the
                   Rules of Civil Procedure, and also provides a specific date by which such
                   information will be provided.



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                 ix. A response to a discovery request that does not provide the information or
                     material requested but rather states that the party is continuing to look for
                     or search for such information or material will be treated as the same as no
                     response unless that party provides a clear description of where such
                     information or material is normally located, who is normally in custody of
                     such information or material, where the party has searched, the results of
                     the search, as well as the identity of all persons who have engaged in such
                     a search. The responding party must also provide a clear explanation of
                     the ongoing search and a specific date by which the search will be
                     complete.

                 x. Whenever a party objects to a discovery request based upon a claim of
                    attorney/client privilege, work product protection or any other privilege or
                    protection, that party must produce a detailed privilege/protection log that
                    includes at least the following for each such item for which privilege is
                    claimed:

                         (1)    The information required by CRCP 26(b)(5);

                         (2)    The date of the information or material;

                         (3)    All authors and recipients; and

                         (4)    The specific privilege or protection which is claimed.

                         (5)    The proponent of the privilege has the burden of
                                establishing that privilege. Failure to comply with this
                                paragraph 5 and Order for Discovery Protocol will constitute a
                                waiver of the claimed privilege.


   6.        EXTENSIONS AND CONTINUANCES

        a)   Extensions of Discovery Deadlines: Stipulated agreements to extend the dates for
             serving discovery responses, objections, and disclosures of no more than 7 days do
             not need to be filed with the Court.

        b)   Extensions on Summary Judgment Motions, C.R.E. 702 Motions, Motions in
             Limine, and Other Motions Close to Trial: The Court will approve extensions on
             these motions sparingly, if at all. Motions to extend the time close to trial do not
             permit the Court sufficient time to rule in advance of trial. Parties should plan their
             discovery and motions practice accordingly.

        c)   Motions to Continue Trial: Motions to continue trial dates, even if stipulated,
             will not be granted as a matter of course, and will only be granted for good cause
             shown.

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   7.      MOTIONS

           a. DO NOT, UNDER ANY CIRCUMSTANCES, FILE ANY MOTIONS
              OTHER THAN A MOTION TO DISMISS, MOTION FOR SUMMARY
              JUDGMENT OR MOTION UNDER RULE 56 SEEKING
              EXTRAORDINARY RELIEF WITHOUT PERMISSION OF THE
              COURT. IN THE EVENT AN ISSUE ARISES, COUNSEL SHALL
              CONFER WITH ONE ANOTHER IN GOOD FAITH AND CONTACT THE
              DIVISION TO SCHEDULE A HEARING. THE COURT WILL HOLD A
              WEBEX HEARING WITHIN TWO (2) BUSINESS DAYS OF THE CALL
              AND RESOLVE THE ISSUE OR DETERMINE WHETHER A MOTION
              AND/OR FURTHER BRIEFN IS WARRANTED. THE HEARING WILL BE
              HELD OVER THE LUNCH HOUR IN THE EVENT THE COURT IS IN
              TRIAL.

           b. C.R.C.P. Rule 56 Motions: All Rule 56 Motions must be filed at least 91 days
              before trial, unless the Court orders otherwise. There is no separate deadline
              for the filing of Cross Motions as provided in CRCP 56. Unless the Court
              orders otherwise, Responses must be filed 21 days after the Motion is filed
              unless an extension is granted. All such motions, responses or replies must be
              10 pages or less, double spaced.

           c. Motions filed pursuant to CRE 702 (including Shreck motions) must be filed
              70 days before trial, absent court order to the contrary.

           d. Unless the Court orders to the contrary, or as otherwise provided in the CMO,
              all pretrial Motions (excluding those filed pursuant to CRCP 56 or CRE 702)
              must be filed at least 35 days before trial. If a Motion is filed within 60 days of
              trial, a Response must be filed no later than 14 days after the Motion is filed.
              Replies are not permitted for any motion filed within 60 days of trial.

           e. The Court is well aware of CRCP 121, §1-15 (as amended in 2015) concerning
              page limits. However, CRCP 121, §1-15, states (regarding page limits)
              “Unless the court orders otherwise …” This is the Court ordering you
              otherwise: All filings should be 10 pages or less, double spaced. This
              directive includes all filings other than those permitted by CRCP 7, including
              motions, responses, and replies.

           f. Pursuant to CRCP 121 § 1-15(8), every motion filed with the Court must
              contain a certification that the movant has, in good faith, conferred with the
              party against whom the motion is made. Conferring does not mean a last-
              minute message or e-mail. Conferring means a meaningful discussion
              preferably live, with professional and legitimate attempts to compare views and
              resolve the issue. If attempts to confer are unsuccessful, the certification must
              describe attempts in detail. See Hoelzel v. First Select Co., 214 F.R.D. 634
              (D. Colo. 2003) (interpreting D.C.COLO.LCivR 7.1A). Motions that do not

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               contain this certification may be rejected by the Court. If the other party refuses
               to confer or does not confer in good faith, the party who attempted to confer
               must file an affidavit detailing the attempts made and the Court may sanction
               any offending party.

   8.       TRIAL MANAGEMENT ORDER

            Unless the Court orders otherwise, the parties must prepare and submit a signed
            Joint [Proposed] Trial Management Order (TMO) 28 days before trial. The
            proposed TMO must comport with the provisions set forth in CRCP 16(f). The
            Court requires a proposed TMO for ALL cases. A pretrial/trial management
            conference may be scheduled as necessary, either by the Court or by counsel.

   9.       JURY INSTRUCTIONS

         a) Parties must meaningfully confer on jury instructions, including a 2:1 Statement
            of the Case. If it is apparent to the Court that the parties have not meaningfully
            conferred, instructions will be returned to the parties for resubmission.

         b) Parties shall jointly file one Microsoft Word document of proposed stipulated
            instructions and verdict forms. Each party shall also file one Microsoft Word
            document of that party’s disputed instructions and verdict forms. At the same
            time, parties should email their proposed instructions and verdict forms to
            02courtroom280@judicial.state.co.us in editable Microsoft Word format.

         c) All jury instructions shall include a citation to the CJI or other authority.

         d) The Court will set a deadline at the Trial Management Conference for the
            submission of jury instructions. The deadline will be no later than 7 days prior to
            trial. If the Court does not set a separate deadline, the deadline is no later than 7
            days before trial.


   10.      JUROR NOTEBOOKS

            The Court provides a 2”, 3-ring binder for the jurors’ use. These contain
            introductory information. Counsel must provide the following case-specific
            information for the notebooks: 1) per C.J.I. 2:1, a succinct statement of the case;
            2) an Order of Proof; 3) the names of all attorneys who appear; 4) any
            stipulations; and, 5) a glossary of technical or unusual terms. Counsel must
            provide copies of the above items for each juror.

            Overstuffed and cumbersome exhibit notebooks are not helpful to the jury. If
            Counsel provides exhibit notebooks, they must be easily managed. Original
            exhibits are available to the jury. Any admitted exhibit may, in the Court’s
            discretion, be added to an exhibit notebook.

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           Counsel must include all parties’ stipulated exhibits in one notebook. Exhibits are
           due five (5) days before trial.

           GLOSSARY OF TERMS: If there are any scientific or other specialized terms
           which will be used repeatedly, those should be set forth, with an agreed-upon
           definition. If the parties have a legitimate dispute about the definition of any
           term, just the term should be listed.


   11.     TRIAL EXHIBITS

           Prepare an Index of Exhibits noting those exhibits which are stipulated. Counsel
           must stipulate to exhibits where appropriate. No one appreciates delays while an
           obviously authentic exhibit is authenticated.

           All Exhibits must be marked numerically. Do not, under any circumstances,
           duplicate any exhibits among the parties.

           All multi-page exhibits must be paginated.

           A working copy of exhibits must be provided to the Court.

           The Court no longer maintains exhibits. Absent a court Order to the contrary, the
           parties are to comply with Chief Justice Directive 11-01 (as amended November
           2014). In addition, within ten (10) days of the conclusion of trial, parties are to
           electronically file any exhibits admitted into evidence by the Court. Also, at the
           conclusion of any proceeding, counsel must retain custody of his or her respective
           exhibits and depositions, whether or not received into evidence, until such time as
           all need, appellate or otherwise, for them has terminated.

           If exhibits are not retrieved within 21 days of the hearing or trial, the exhibits will
           be destroyed. If binders for exhibits are not retrieved within 21 days of the
           hearing or trial, the binders will be destroyed or donated.

           All demonstrative exhibits intended for use at trial must be provided to opposing
           counsel 21 days prior to trial. Objections thereto must be made 14 days before
           trial. The Court will treat any slides, PowerPoint panels, or similar materials as
           demonstrative exhibits for purposes of this rule.

   12.     SCHEDULING/WITNESSES/EXAMINATION FOR TRIAL

           Generally, trial days start at 9:00 a.m. and end at 5:00 p.m. The Court takes one
           break in the morning and afternoon. Lunch is from noon until 1:30 p.m.

           Re-cross examination is disallowed in most circumstances, limited in others.

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   13. VOIR DIRE

           The Court asks background and sensitive case-related questions of potential
           jurors. Counsel is limited to 30 minutes of voir dire. The Court will outline its
           procedures for cause and peremptory challenges before trial.

   14. DEPOSITIONS IN LIEU OF LIVE TESTIMONY

           If you are going to use depositions in lieu of live testimony, you must provide
           designations of deposition testimony to opposing counsel no later than 28 days
           before trial. Objections to any deposition testimony must be made no later than 14
           days before trial and must cite page, line and the specific evidentiary grounds
           therefor. Provide the Court with a transcript highlighting the disputed testimony.

   15. USE OF AUDIO-VISUAL TECHNOLOGY AT HEARINGS OR TRIAL

           The Court does not provide audio-visual equipment. Contact the Division Clerk
           five (5) days prior to trial (or hearing) regarding the use of such equipment.

   16. COURT REPORTERS AT HEARINGS OR TRIAL

           The Court uses a digital recording system. The Court strongly encourages the
           Parties to hire a private court reporter. Though infrequent, there have been
           problems with the digital system.

           Use of freelance reporters in civil cases is governed by Chief Justice Directive
           2011-1, Administrative Order Regarding Civil and Family Law Cases.

   17. TRIAL BRIEFS

           Trial Briefs, if any, must be filed five (5) days before trial and must not exceed
           five (5) pages in length, double spaced.


   18. TRIALS TO THE COURT

           Counsel must be prepared to submit Proposed Findings of Fact and Conclusions
           of Law within one (1) week following the conclusion of the trial.

   19. MISCELLANEOUS

        a. Filings of any type (except “pleadings,” as defined in CRCP 7) must be no
           more than ten (10) pages long and must be double spaced.




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         b. Except as otherwise directed by the Court (in this order, such as in ¶19a above, or
            elsewhere), the parties must follow CRCP 10 and 121, § 1-20. If a pleading,
            motion, e-filed document under CRCP 121, § 1-26, or any filing does not comply
            with CRCP 10, it may be stricken. A filing captioned “Motion”, “Response” or
            “Reply,” regardless of whether it incorporates legal authority, and regardless of
            whether it has an accompanying brief or legal memorandum in support thereof, in
            addition to being no more than ten (10) pages in length, must be double spaced.

         c. The Court expects compliance with CRCP, this Pre-Trial Order and the Colorado
            Rules of Professional Conduct.

         d. This Court does not permit the lawyers to call anyone by his or her first name.
            Surnames must be used. Lane v. Wallace, 579 F. 2d 1200 (10th Cir. 1978)
            (Colo.).


      This 30th day of July 2024

                                                  SO ORDERED.


                                                  _________________________
                                                  David H. Goldberg
                                                  Denver District Court Judge




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